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 6
                         UNITED STATES DISTRICT COURT
 7
                        CENTRAL DISTRICT OF CALIFORNIA
 8
                                                  Case No. 2:18-CV-03853 (VEB)
 9
     SONIA YVETTE VERA,
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                           Plaintiff,             JUDGMENT
11
     vs.
12
     ANDREW M. SAUL, Commissioner of
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     Social Security,
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                           Defendant.
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           For the reasons set forth in the accompanying Decision and Order, it is hereby
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     ADJUDGED AND DECREED THAT (1) Plaintiff’s request for an order remanding
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18   the case for further proceedings is DENIED; (2) the Commissioner’s request for an

     order affirming the Commissioner’s final decision and dismissing the action is
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                       JUDGMENT – VERA v SAUL 2:18-CV-03853-VEB
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 1   GRANTED; (3) judgment is entered in the Commissioner’s favor; and (4) the Clerk

 2   of the Court shall CLOSE this case.

 3         DATED this 31st of October, 2019,

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 5                                /s/Victor E. Bianchini
                                  VICTOR E. BIANCHINI
 6                            UNITED STATES MAGISTRATE JUDGE

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                       JUDGMENT – VERA v SAUL 2:18-CV-03853-VEB
